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                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MISSOURI
                      SOUTHWESTERN DIVISION, SOUTHERN DIVISION


In Re:

HOLMAN, JACOB A
HOLMAN, TASHA K                                          Case No.     16-30520-BTF


                       Debtors



                 MOTION TO TRANSFER BALANCE TO REGISTRY FUND

         Comes now Norman Rouse, Trustee and states that there is on deposit in Metropolitan
Commercial Bank to the credit of the above captioned estate, the sum of $ 33,169.64.
         The sum of $ 33,169.64 is from the sale of real estate located in Dade County, Missouri.
Janet (Ward) Holman was a 50% owner of the real estate sold through the bankruptcy estate.
The Trustee has tried to locate Janet (Ward) Holman and even spoken with relatives to try and
locate her. We have been unable to locate her to distribute her portion of proceeds from the sale
of the real estate.
         Wherefore Norman Rouse, Trustee prays that this Court enter an order allowing-said
trustee to pay to the Clerk of the United State Bankruptcy Court as provided by §347 of the
Bankruptcy Code, the sum of $ 33,169.64 constituted by the following


         Janet (Ward) Holman                         $ 33,169.64
         Total                                       $ 33,169.64




                                                       /s/ Norman Rouse
                                                       Norman Rouse, Trustee
